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 6                          UNITED STATES DISTRICT COURT

 7                                 DISTRICT OF NEVADA

 8 EDDIE SOWELL SMITH,                             Case No.: 2:23-cv-00527-GMN-MDC

 9         Petitioner                               Order Granting Extension to File
                                                   Opposition to Motion to Dismiss to
10 v.                                                     September 3, 2024

11 WARDEN CHILDERS, et al.,

12         Respondents.

13        Eddie Sowell Smith asks the Court for an extension to file an opposition to

14 Respondents’ Motion to Dismiss his 28 U.S.C. § 2254 Habeas Corpus Petition. (ECF

15 No. 35.) He explains that his cell was searched, his copy of the Motion is now missing,

16 and he asks for another copy. Good cause appearing,

17        IT IS ORDERED that Petitioner’s Motion for Extension of Time to oppose the

18 Motion to Dismiss (ECF No. 35) is GRANTED nunc pro tunc. The deadline is

19 extended to September 3, 2024.

20        IT IS FURTHER ORDERED that the Clerk of Court send to Petitioner a copy of

21 the Motion to Dismiss (ECF No. 34).

22        DATED: 30 July 2024.

23
                                                   GLORIA M. NAVARRO
                                                   UNITED STATES DISTRICT JUDGE
